                    IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

                                                      )
TRACEY K. KUEHL, et al.,                              )   Case No. C14-02034-JSS
                                                      )
                       Plaintiffs,                    )   DECLARATION OF JESSICA
        v.                                            )   BLOME IN SUPPORT OF
                                                      )   PLAINTIFFS’ SECOND MOTION
PAMELA SELLNER, et al.,                               )   IN LIMINE REGARDING USDA
                                                      )   RECORDS
                       Defendants.                    )
                                                      )   Judge: Hon. Jon Stuart Scoles
                                                      )   Trial Date: October 5-8, 2015
                                                      )

                         DECLARATION OF JESSICA BLOME

        1.      I am one of Plaintiffs’ attorneys in this matter. I have personal knowledge

of the facts set forth herein.

        2.      Attached hereto as Exhibit 1 is a true and correct copy of the United States

Department of Agriculture’s official certification and seal for documents related to

“Pamela and Tom Sellner d/b/a Cricket Hollow Zoo Inspection Reports dated May 21,

2014 – July 29, 2010,” and “Animal Complaint entered July 21, 2010, with attached

memorandum.”

        3.      On September 1, 2015, I sent a secondary request to USDA’s FOIA Office

for certification of the remaining USDA records marked on Plaintiffs’ Trial Exhibit List

as Plaintiffs’ Exhibits 2, 3, and 27 through 38.

        4.      I received all of the documents marked on Plaintiffs’ Trial Exhibit List as

Exhibits 2 through 38 and 72 through 76 from the USDA in response to a Freedom of

Information Act or by visiting USDA’s online FOIA Reading Room, which is located at

http://www.aphis.usda.gov/wps/portal/aphis/resources/foia?1dmy&urile=wcm%3Apath%




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3A%2Faphis_content_library%2Fsa_resources%2Fsa_laws_and_regulations%2Fsa_foia

%2Fct_foia_reading_room, at various times throughout the last year as the inspection

reports and enforcement notices were published by the USDA’s Animal and Plant Health

Inspection Service.

       I declare under the penalty of perjury under the laws of the United States that the

foregoing is true and correct.

EXECUTED in Cotati, California, this 4th day of September, 2015.

                                                    /s Jessica Blome
                                                    Jessica L. Blome (pro hac vice)
                                                    Missouri Bar No. 59710
                                                    jblome@aldf.org




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